           Case 1:22-cv-01474-JPW Document 48 Filed 03/04/24 Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
NATHANIEL SPRIGGS,                                       :      Civil No. 1:22-CV-01474
                                                         :
                 Plaintiff,                              :
                                                         :
                 v.                                      :
                                                         :
CITY OF HARRISBURG, et al.,                              :
                                                         :
                 Defendants.                             :       Judge Jennifer P. Wilson
                       AMENDED CASE MANAGEMENT ORDER
        AND NOW, on this 4th day of March, 2024, following a telephone

conference with counsel on February 28, 2024, IT IS ORDERED THAT the case

management deadlines are amended as follows:

          Status Conference:1                                            May 22, 2024, at 3:00 p.m.
          Discovery Disputes:                                            May 17, 2024
          Fact discovery:                                                June 28, 2024
          Dispositive motions and supporting briefs:                     November 1, 2024
          Plaintiff’s expert reports:                                    July 31, 2024
          Defendant’s expert reports:                                    September 6, 2024
          Supplemental and rebuttal expert reports:                      September 20, 2024
          Expert discovery:                                              October 18, 2024
          Motions in limine and supporting briefs:                       November 6, 2024
          Pretrial memoranda:                                            December 4, 2024
          Proposed voir dire and jury instructions:                      December 4, 2024
          Final pretrial conference:                                     December 18, 2024
          Trial:                                                         January 6, 2025

                                                   s/Jennifer P. Wilson
                                                   JENNIFER P. WILSON
                                                    United States District Judge
                                                   Middle District of Pennsylvania


1
  The parties shall call-in to the conference call number 877-336-1828, using the access code 2529544. Counsel
should be aware that this is a conference calling number that is utilized for multiple calls scheduled in ten- or
fifteen-minute intervals. If you dial in and another call is in progress, please wait until the courtroom deputy
announces your case. The courtroom deputy is aware when a new caller joins the conference. You should follow
the same etiquette expected when you enter a courtroom and a proceeding is in progress. When your case is called,
state your name and client. Be advised that court staff are monitoring the conference at all times.
